Case: 1:17-md-02804-DAP Doc #: 2379-3 Filed: 08/14/19 1 of 3. PageID #: 390107




                EXHIBIT 53
              Case: 1:17-md-02804-DAP Doc #: 2379-3 Filed: 08/14/19 2 of 3. PageID #: 390108

  From:            Walker, Donald [/O=MCKESSON/OU=NORTH AMERICA/CN=RECIPIENTS/CN=743A9CA9]
  Sent:            8/28/2008 12:27:31 AM
  To:              Thornet, Elaine [elaine.thornet@rnckesson.com]
  CC:              Bishop, Micheal [rnicheal.bishop@rnckesson.com]
  Subject:         RE: CSMP RNA Level 1 Review




  Elaine I am open to any suggestion that would streamline the work required from your team. The key is we have reference
  to a HQ contact and reason for change. The form can be changed for RNA

  Don


  From:              Thomet, Elaine
  Sent:              Wednesday, August 27, 2008 3: 11 PM
  To:                Walker, Donald
  Cc:                Bishop, Micheal
  Subject:           FVI/: CSMP RNA Level 1 Review

  Don,

  Is it critical that we complete these reviews on the attached form? The Account Managers have already been asking
  these types of questions and have just been forwarding to the DRAs for the DCs files including the name, title and ph # of
  the customer at RNA HQ who provided the details and the reasons on the TCR form.

  If this is OK, then the only change for RNA is to complete this process even if the customer is not requesting an increase.

  Thanks,

  Elaine



  From:              Walker, Donald
  Sent:              Monday, August 18, 2008 10:37 AM
  To:                Thomet, Elaine; Bishop, Micheal
  Cc:                Jefferies, Dan; #PGRDRC
  Subject:           CSM P RNA Level 1 Review

  Elaine as we gain more experience with CSMP I recognize that you were correct in channeling Level 1 reviews through
  your team. We have found that communication regarding CSMP has been inconsistent from RNA HQ to pharmacies .
  When the DC's call the pharmacies many do not even know they have a threshold. So we are modifying the SOP to
  reflect that level 1 reviews will be coordinated by your team . I am convinced that working with chain HQ will be a more
  responsive and accountable process. He timing of this change is critical as we have our first DEA audit tomorrow and
  have modified the SOP's for RNA.

  Copied below is the change . We will need to work with Michael on the logistics.

  Don

                                                                                                                        2.2.1
  Level 1 Review - RNA Customer

  The RNA support team will be responsible for initiating/compiling the level 1 review for RNA customers.

  How to do:

  Once the RNA support team has been informed of the threshold incursion, they will

  •       notify and request information from one of the following: the customers regulatory department, corporate office,
          regional management team or McKesson liaison regarding the item(s) in question.




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                      MCKMDL00543758
            Case: 1:17-md-02804-DAP Doc #: 2379-3 Filed: 08/14/19 3 of 3. PageID #: 390109


  •   solicit feedback from the RNA customer and document information on the General level 1 form in the attachments
      section. RNA support team will include all pertinent information as directed in the form; as well as the name, title,
      phone of person contacted/providing information .



  •   forward copies of level 1 documentation to appropriate Director of Regulatory Affairs



  •   initiate a threshold change requests if needed (see section 1.3 above).

  Result:

  Once received, the DRA will forward the level 1 documentation to appropriate DC.

  Special warnings:

  If during this level 1 process either the RNA support team or the DRA determines it warranted, a level 2 review can be
  initiated as directed in step 2.2.3 below.




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                   MCKMDL00543759
